Case 4:20-mj-00134-PJC Document 1 Filed in USDC ND/OK on 05/29/20 Page 1 of 23

FILED

AO 106 (Rev. 06/09) Application for a Search Warrant MAY 29 2020

UNITED STATES DISTRICT COURT U'S“pigtmiae Glare

for the
Northern District of Oklahoma ‘
Do-ly.—/3 4-PIC

Case No. 26-€R=60034-GKE

In the Matter of the Search of
INFORMATION THAT IS STORED AT PREMISES
CONTROLLED BY GOOGLE,

1600 AMPHITHEATRE PARKWAY,
MOUNTAIN VIEW, CALIFORNIA 94043

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment “A”
located inthe Northern District of California _, there is now concealed (identify: the person or describe the property to be seized):

See Attachment “B”

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
M evidence of a crime;
O contraband, fruits of crime, or other items illegally possessed;
O property designed for use, intended for use, or used in committing a crime;
O a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 U.S.C. §§ 2252(a)(2) and (b)(1) Receipt/distribution of a visual depiction of a minor engaged in sexually explicit conduct
18 U.S.C. 8§ 2252(a)(4)(B) and (b)(2) Possession of and access with intent to view a visual depiction of a minor engaged in sexually
explicit conduct
18 U.S.C. §§ 2252A(a)(2)(A) and (b)(1) Receipt/distribution of child pornography
18 U.S.C. §§ 2252A(a)(5)(B) and (b)(2) Possession of and access with intent to view child pornography

The application is based on these facts:
See Affidavit of Special Agent Dustin Carder, attached hereto.
M Continued on the attached sheet.

O Delayed notice of ___ days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the “SE

ny al

Applicant's signature

Dustin Carder, SA HSI

Pri name and title /)
Dare a, () 4
Judg&ssignange — /
City and state: Tulsa, Oklahoma “Magistrate Judge

—————
Printed name and title

  
 

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Case 4720-mj-00134-PJC Document 1 Filed in USDC ND/OK on 05/29/20 Page 2 of 23

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

 

IN THE MATTER OF THE SEARCH OF AFFIDAVIT IN SUPPORT OF AN
INFORMATION THAT IS STORED AT APPLICATION FOR A SEARCH
PREMISES CONTROLLED BY GOOGLE, | WARRANT

1600 AMPHITHEATRE PARKWAY,
MOUNTAIN VIEW, CALIFORNIA 94043 Case No.

 

 

 

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Dustin Carder, a Special Agent (SA) with Homeland Security Investigations (HSI),
being duly sworn, depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND
1. I make this affidavit in support of an application for a search warrant! for
information that is stored at premises controlled by Google, a provider of electronic
communications service and remote computing service headquartered at 1600 Amphitheatre
Parkway, Mountain View, California 94043. The information to be searched is described in the
following paragraphs and in Attachment A. This affidavit is made in support of an application for
_asearch warrant under 18 U.S.C. § 2703(c)(1)(A) to require Google to disclose to the government
copies of the information further described in Attachment B.

2. I have been employed as a Special Agent of the United States Department
of Homeland Security, Homeland Security Investigations (HSI) in Tulsa, Oklahoma,

since December 2018. I am a graduate of the Criminal Investigator Training Program

 

' A Search Warrant was previously issued for this information. However a scrivener’s error in
affidavit regarding the geographical coordinates made it impossible for Google to comply. Paragraphs 42
and 43 of this affidavit address this issue.
Case 4:20-mj-00134-PJC Document 1 Filed in USDC ND/OK on 05/29/20 Page 3 of 23

and the Homeland Security Investigations Special Agent Training Academy. As a result
of my employment with HSI, my duties include, but are not limited to, the investigation
and enforcement of Titles 8, 18, 19, 21, and 31 of the United States Code (U.S.C.). Lam
an “investigative or law enforcement officer of the United States” within the meaning
defined in 18 U.S.C. § 2510(7), in that I am an agent of the United States authorized by

law to conduct investigations of, and make arrests for, federal offenses.

3. As part of my duties as a HSI Special Agent, I investigate criminal violations
relating to child pornography, including the production, transportation, distribution, receipt, and
possession of child pornography, in violation of 18 U.S.C. §§ 2251, 2252, and 2252A. I have
received training in the areas of child pornography and child exploitation and have observed and
reviewed numerous examples of child pornography, as defined in 18 U.S.C. § 2256, in all forms
of media. I have been involved in several child pornography investigations and am familiar with
the tactics used by individuals who collect and distribute child pornographic material.

4. This affidavit is intended to show merely that there is sufficient probable cause for
the requested warrant and does not set forth all of my knowledge about this matter.

5. Based on my training and experience and the facts as set forth in this affidavit, there
is probable cause to believe that violations of 18 U.S.C. §§ 2252(a)(2) and (b)(1)
(receipt/distribution of a visual depiction of a minor engaged in sexually explicit conduct); and 18
U.S.C. §§ 2252(a)(4)(B) and (b)(2) (possession of and access with intent to view a visual depiction
of a minor engaged in sexually explicit conduct) have been committed by Jeffrey Reetz or

unknown persons. There is also probable cause to search the information described in Attachment
Case 4:20-mj-00134-PJC Document 1 Filed in USDC ND/OK on 05/29/20 Page 4 of 23

A for evidence, instrumentalities, contraband, and/or fruits of these crimes further described in

Attachment B.

JURISDICTION
6. This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A), &
(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that has jurisdiction
over the offense being investigated.” 18 U.S.C. § 2711(3)(A)Q@).

BACKGROUND RELATING TO GOOGLE AND RELEVANT TECHNOLOGY

7. A cellular telephone or mobile telephone is a handheld wireless device used
primarily for voice communication through radio signals. Cellular telephones send signals through
networks of transmitter/receivers called “cells,” enabling communication with other cellular
telephones or traditional “landline” telephones. Cellular telephones rely on cellular towers, the
location of which may provide information on the location of the subject telephone. Cellular
telephones may also include global positioning system (“GPS”) technology for determining the
location of the device.

8. Google is an Internet company which, among other things, provides electronic
communication services to subscribers. Google allows subscribers to obtain email accounts at the
domain name gmail.com. Subscribers obtain an account by registering with Google. During the
registration process, Google asks subscribers to provide basic personal information. Therefore,
the computers of Google are likely to contain stored electronic communications (including
retrieved and unretrieved email for Google subscribers) and information concerning subscribers
and their use of Google services, such as account access information, email transaction

information, and account application information. In my training and experience, such information

3
Case 4:20-mj-00134-PJC Document 1 Filed in USDC ND/OK on 05/29/20 Page 5 of 23

may constitute evidence of the crimes under investigation because the information can be used to
identify the account’s user or users.

9. In my training and experience, email providers generally ask their subscribers to
provide certain personal identifying information when registering for an email account. Such
information can include the subscriber’s full name, physical address, telephone numbers and other
identifiers, alternative email addresses, and, for paying subscribers, means and source of payment
(including any credit or bank account number). In my training and experience, such information
may constitute evidence of the crimes under investigation because the information can be used to
identify the account’s user or users. Based on my training and my experience, I know that even if
subscribers insert false information to conceal their identity, I know that this information often
provide clues to their identity, location or illicit activities.

10. In my training and experience, email providers typically retain certain transactional
information about the creation and use of each account on their systems. This information can
include the date on which the account was created, the length of service, records of login (i.e.,
session) times and durations, the types of service utilized, the status of the account (including
whether the account is inactive or closed), the methods used to connect to the account (such as
logging into the account via the provider’s website), and other log files that reflect usage of the
account. In addition, email providers often have records of the Internet Protocol address (“IP
address”) used to register the account and the IP addresses associated with particular logins to the
account. Because every device that connects to the Internet must use an IP address, IP address
information can help to identify which computers or other devices were used to access the email

account.
Case 4:20-mj-00134-PJC Document 1 Filed in USDC ND/OK on 05/29/20 Page 6 of 23

11. As explained herein, information stored in connection with an email account may
provide crucial evidence of the “who, what, why, when, where, and how” of the criminal conduct
under investigation, thus enabling the United States to establish and prove each element or
alternatively, to exclude the innocent from further suspicion. In my training and experience, the
information stored in connection with an email account can indicate who has used or controlled
the account. Further, information maintained by the email provider can show how, where, and
when the account was accessed or used. Based on my training and experience, I have learned that
Google also maintains records that may reveal other Google accounts accessed from the same
electronic device, such as the same computer or mobile device, including accounts that are linked
by Hypertext Transfer Protocol (HTTP) cookies, which are small pieces of data sent from a website
and stored in a user’s Internet browser.

12. Google has developed an operating system for mobile devices, including cellular
phones, known as Android. Nearly every cellular phone using the Android operating system has
an associated Google account and users are prompted to add a Google account when they first turn
on a new Android device.

13. Based on my training and experience, I have learned that Google collects and
retains location data from Android-enabled mobile devices when a Google account user has
enabled Google location services. The company uses this information for location-based
advertising and location-based search results. This information is derived from sources including
GPS data, cell site/cell tower information, and Wi-Fi access points. This location data is retained
by Google in the Northern District of California, in Mountain View, California.

14. —_ Location data can assist investigators in understanding the timeline and physical

location of an Android-enabled mobile device relating to the crime under investigation, when a

5
Case 4:20-mj-00134-PJC Document 1 Filed in USDC ND/OK on 05/29/20 Page 7 of 23

Google user has enabled Google location services. This timeline and device physical location
information may tend to either inculpate or exculpate the account owner. Affiant believes that that
google location services would help establish venue. Additionally, information stored at the user’s
account may further indicate the physical location of the account user at a particular time (e.g.,
location information integrated into an image or video sent via email).

15. This search warrant seeks to collect the above-described location data obtained by
Google in an effort to determine what devices were in or near 9574 East Highway 20, Claremore,
Oklahoma, in the Northern District of Oklahoma, on numerous dates and times, as further
described in paragraph 32. The dates and times listed in paragraph 32 are when a known
commercial child exploitation website, described in paragraph 16, was accessed from a laptop
found at 9574 East Highway 20, Claremore, Oklahoma during the execution of a previous
federal search warrant on January 23, 2020.

PROBABLE CAUSE

16. In March 2012, HSI Phoenix initiated an investigation into a fee-based, members-
only website, “Website M,”? after a consensual interview with a suspect in a child exploitation
investigation. The interview resulted in HSI agents assuming this individual’s online identity on
“Website M,” a commercial child exploitation website (CEW). Additionally, Special Agents

(SAs) were able to take over the e-mail account the suspect utilized when he registered for the

 

2 Law enforcement knows the actual name of Website M. However, the investigation into users
of Website M remains ongoing, and public disclosure of Website M’s actual name would potentially alert
its members to the investigation, likely provoking members to notify other members of the investigation,
to flee, and/or to destroy evidence. Accordingly, to preserve the confidentiality and integrity of the
ongoing investigation, the actual name and other identifying details of Website M remain undisclosed in
this affidavit.
Case 4:20-mj-00134-PJC Document 1 Filed in USDC ND/OK on 05/29/20 Page 8 of 23

CEW. Results from the preliminary investigation indicated that the site was being hosted on a
server physically located in India, and the website claimed.to offer 600,000 images and 400 hours
of video, all of which could be downloaded for a fee as compressed, encrypted files (RAR files).
A review of the images and videos displayed on the website indicate that approximately one-half
of the images and more than one-half of the videos advertised depict prepubescent and pubescent
males and females engaged in sexual activity with adults and/or posed in a sexually explicit
manner. Passwords to decrypt the files were available for an average fee of $83.00. Due to this
site being “members-only” it is impossible to access it without an active account.

17. A user can only locate and access Website M if the user knows its current web
address. Once the user enters the correct web address, a box appears that requires the user to enter
a “username” and “password.” The user cannot access the site without first entering that
information. Once the user enters a valid username and password, Website M’s home page
appears. The opening page depicts nude anime (i.e., drawings, sketches or cartoons) characters
lasciviously displaying their genitals. The term “Private Club” also appears on the home page.

18. Several interviewed Website M members have told agents that they received an e-
mail message inviting them to join the site and set up a username and password after they
purchased child erotica from another website. Following that purchase, they received a sample

image of child pornography° along with the question “Are you interested in seeing more of this?”

 

3 “Child pornography,” as defined in 18 U.S.C. § 2256(8), is any visual depiction, including any
photograph, film, video, picture, or computer or computer-generated image or picture, whether made or
produced by electronic, mechanical or other means, of sexually explicit conduct, where (a) the production
of the visual depiction involved the use of a minor engaged in sexually explicit conduct, (b) the visual
depiction is a digital image, computer image, or computer-generated image that is, or is indistinguishable
from, that of a minor engaged in sexually explicit conduct, or (c) the visual depiction has been created,
adapted, or modified to appear that an identifiable minor is engaged in sexually explicit conduct.

7
Case 4:20-mj-00134-PJC Document 1 Filed in USDC ND/OK on 05/29/20 Page 9 of 23

If the individual gave a positive indication that they were interested in seeing more of those images,
Website M sent them another email with instructions of how to access and join the website.

19. After gaining access to Website M by using a cooperating individual’s username
and login, HSI Phoenix agents determined that it advertises files of child pornography for
purchase. Once logged in as a member, the user sees the names of folders available for purchase,
‘ which contain previews or samples of images contained in the folders. As of March 2012, the
website advertised that it offered 600,000 images and 400 hours of video. Such images and videos
are organized into folders, the contents of which can be accessed after downloading them by
purchasing a password. At all times relevant to this investigation, Website M hosted its content
on a server physically located outside of the United States.

20. Throughout HSI’s investigation, Website M has typically charged between $40
USD and $110 USD to purchase the password for encrypted archive files containing multiple
images and/or videos of child pornography and child erotica. The majority of archive files cost
$89 USD‘. Once downloaded, the user can “decrypt” the selected archive file by entering in the
purchased password to reveal multiple images and/or video files. HSI Phoenix Special Agents
have made undercover purchases or accessed several archive files available for purchase, which
revealed that most of the archive files contained between 500 and 2,000 image and/or video files,
the majority of which are child pornography.

21. Investigating agents also found that Website M allows members to preview

“samples” of the images/videos contained in an archive folder prior to purchase. Investigating

 

4A digital archive file is used to store multiple files within a single, compressed file, which can
make it easier to store and transmit numerous files at the same time. File extensions associated with
digital archive files include “rar” and “.zip.”
Case 4:20-mj-00134-PJC Document 1 Filed in USDC ND/OK on 05/29/20 Page 10 of 23

agents visited Website M and previewed more than 100 sample folders. Agents found that the
majority of the images and videos found in the sample or preview folders depicted apparent minors,
and many depicted what appeared to be pre-pubescent minors engaged in sexual activity with
adults and/or posed in a sexually explicit manner.

22. Over the course of their investigation, which has involved previewing “samples”
and then downloading multiple archive files via Website M, investigating agents have found that
the “sample” images and/or video screenshots corresponded to the full sets of image and video
files contained in downloaded archive files.

23. After selecting an archive file for purchase, the member pays for its password via
credit card. Website M then automatically sends an email to the member with the encryption
password for the archive. The member must first download the archive file to a digital device and
enter that password to decrypt and de-compress it.

24. Through years of investigation, research, undercover purchases of child
pornography from Website M, the service of legal process, and working with foreign governments,
HSI identified numerous targets in the United States via the capture of IP addresses and summons
results from payment processors for Website M. One of the targets was identified as Jeffrey Reetz
at 9574 East Highway 20, Claremore, Oklahoma. This identification was made through
responses to legal process served to the Website M payment processor and Internet Service
Providers for IPs captured during purchases.

25. For each of the purchases on Website M, the user must enter the email address to
which the site sent the auto-generated receipts and passwords for purchases made on Website M.
The email address that the individual provided on each purchase was “lareetz@msn.com.” The

name the user provided for each purchase was Jeffrey Reetz.

9
Case 4:20-mj-00134-PJC Document 1 Filed in USDC ND/OK on 05/29/20 Page 11 of 23

26. At least one of the U.S. payment processors for Website M provided the IP
addresses related to particular user transactions. One of the IP addresses related to Reetz’
transactions was 108.243.235.60. A query of the American Registry for Internet Numbers
(“ARIN”) online database revealed that IP address 108.243.235.60 was registered to AT&T.

27. On May 24, 2018, the U.S. Department of Homeland Security issued an
administrative summons to AT&T seeking subscriber information concerning the above IP
address. A review of the results obtained on June 4, 2018, identified the physical address as 9574
East Highway 20, Claremore, Oklahoma. AT&T also provided Reetz’ email on the return
information as “lareetz@msn.com.”

28. HSI Phoenix discovered that Reetz made fifteen (15) purchases of child
pornography from Website M between January 2017 and November 2018. The total number of
files purchased by Reetz was over 39,000. HSI Phoenix was able to provide these files to me. On
November 25, 2019, after reviewing and categorizing the files, it was determined that there were
over 9,000 images and videos of child pornography. Of those 9,000+ images/videos, over 2,900
depicted infant/toddler exploitation and over 800 depicted child pornography containing
sadomasochism, bondage, and other acts of violence.

29. On January 23, 2020, HSI Special Agents (SA), Task Force Officers (TFO),
Officers from the Tulsa Police Department Cyber Crimes Division, and Investigators from the
Oklahoma Department of Corrections (DOC) executed a federal search and seizure warrant at the
residence of Jeffrey Reetz at 9574 East Highway 20, Claremore, Oklahoma, in the Northern
District of Oklahoma. The warrant was obtained in the Northern District of Oklahoma, which was

signed by U.S. Magistrate Judge Frank H. McCarthy. The search and seizure warrant was for

10
Case 4:20-mj-00134-PJC Document 1 Filed in USDC ND/OK on 05/29/20 Page 12 of 23

evidence relating to child exploitation and a prohibited person in possession of firearms and
ammunition.

30. Asaresult of the search warrant, agents seized numerous items including a Hewlett
Packard (HP) Pavilion Entertainment PC laptop (hereinafter “HP laptop”), Model: DVS, Serial:
CNF8288603, a Dell OptiPlex computer tower (serial # FIQ6KN1), and a Samsung Galaxy $9
(Phone number 918-406-3041, ICCID 890112030024496941 18) from the residence.

31. Forensic analysis of the devices was conducted by a HSI Computer Forensic
Analyst (CFA). I further reviewed those analyses and the images/videos found on the devices. I
discovered that on the HP laptop, approximately 8,600 images and videos of child pornography
were found; on the Dell OptiPlex computer tower, approximately 600 images of child pornography
were found. The Samsung Galaxy S9, belonging to Jeffrey Reetz, was found to be utilizing the
Android operating system, as described above in paragraphs 12-13. I know from my experience
that individuals who possess android phones such as the Galaxy S9 keep that phone in their
immediate possession, or nearby, at all times.

32. Additional analysis of the forensic data revealed that records of contact with
Website M were found on the HP laptop for the following dates and time frames:

a. January 19, 2017 between 10:10 AM and 10:20 AM (CST)
b. January 23, 2017 between 11:45AM and 11:55 AM (CST)

c. January 24, 2017 between 8:15 AM and 8:25 AM (CST)

d. January 25, 2017 between 9:35 AM and 9:45 AM (CST)

e. January 27, 2017 between 12:35 PM and 12:45 PM (CST)

f. May 24, 2017 between 11:45 AM and 11:55 AM (CST)

g. December 26, 2017 between 11:25 AM and 11:35 AM (CST)
11
Case 4:20-mj-00134-PJC Document 1 Filed in USDC ND/OK on 05/29/20 Page 13 of 23

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January 3, 2018 between 5:25 PM and 5:35 PM (CST)
August 23, 2018 between 2:15 PM and 2:25 PM (CST)
August 27, 2018 between 4:00 PM and 4:10 PM (CST)
September 6, 2018 between 5:10 PM and 5:20 PM (CST)
September 8, 2018 between 9:40 PM and 9:50 PM (CST)
September 23, 2018 between 9:10 PM and 9:20 PM (CST)
October 6, 2018 between 12:20 PM and 12:30 PM (CST)
October 13, 2018 between 4:35PM and 4:45 PM (CST)
November 2, 2018 between 10:35 PM and 10:45 PM (CST)
November 7, 2018 between 2:15 PM and 2:25 PM (CST)
November 8, 2018 between 7:55 PM and 8:05 PM (CST)
August 15, 2019 between 11:25 AM and 11:35 AM (CST)
November 6, 2019 between 9:35 AM and 9:45 AM (CST)
November 7, 2019 between 10:05 AM and 10:15 AM (CST)
November 13, 2019 between 9:25 AM and 9:35 AM (CST)
December 4, 2019 between 9:20 AM and 9:30 AM (CST)
December 6, 2019 between 9:45 AM and 9:55 AM (CST)
December 9, 2019 between 9:15 AM and 9:25 AM (CST)

December 12, 2019 between 10:00 AM and 10:10 AM (CST)

aa. December 13, 2019 between 10:20 AM and 10:30 AM (CST)

bb. December 17, 2019 between 10:15 AM and 10:25 AM (CST)

cc. December 18, 2019 between 9:25 AM and 9:35 AM (CST)

dd. January 3, 2020 between 9:05 AM and 9:15 AM (CST)

12
Case 4:20-mj-00134-PJC Document 1 Filed in USDC ND/OK on 05/29/20 Page 14 of 23

ee. January 16, 2020 between 10:00 AM and 10:10 AM (CST)
ff. January 21, 2020 between 9:45 AM and 9:55 AM (CST)

33.  Reetz was interviewed at the time of the execution of the search warrant, after
waiving his Miranda Rights. Reetz vehemently denied ever looking at, accessing, or downloading
child pornography from any website. Reetz stated that the only person at the residence who had
access to the WiFi during the known purchases of child pornography was his ex-wife, Danielle
Morris. I attempted to locate Danielle Morris for an interview, but learned she moved to California
and I was unable to make contact with her by phone.

34. Itis common knowledge that in today’s society, most individuals carry their cellular
phone or smartphone on their person, or it is near them at almost all times. As described in
paragraph 31, Reetz’ Samsung phone seized at his residence during the search warrant on January
23, 2020, was found to be utilizing the Android operating system. The HP laptop was found in
Reetz’ vehicle inside his garage contained in a briefcase with numerous passports and or
financial/identity documents belonging to Reetz. It is believed that Reetz traveled with the HP
laptop from home to work and work to home.

35. As described in this affidavit, location data can assist investigators in understanding
the timeline and physical location of an Android-enabled mobile device relating to the crime under
investigation, when a Google user has enabled Google location services. The ultimate goal of this
search warrant is to identify devices that were at or near 9574 East Highway 20, Claremore,
Oklahoma on the aforementioned dates and times during which Website M was accessed on the
HP laptop, so that owner/account information can later be sought from Google for those identified
devices, which will inculpate or exculpate Reetz or another individual as the one who accessed

Website M.
13
Case 4:20-mj-00134-PJC Document 1 Filed in USDC ND/OK on 05/29/20 Page 15 of 23

36. 1am only seeking to identify devices that were at or near 9574 East Highway 20,
Claremore, Oklahoma and not Reetz’ business because the business has approximately 35-40
employees and sits next to a roadway and other businesses. In my training and experience, those
who access and view child pornography do so from their homes or other places where they have a
greater expectation of privacy.

37. — Reetz’ residence sits on approximately 26 acres of land and his residence is nearly
450 feet from the roadway. The neighbor to the west is a church and the neighbor to the east is
approximately 750 feet away through a wood line. The neighbor to the north is nearly 800 feet
away and approximately 20 acres of land is south of the residence?.

38. This search warrant seeks location information related to GPS, WiFi or Bluetooth
sourced location history data generated from devices that reported a location within the
geographical area around 9574 East Highway 20, Claremore, Oklahoma 74017, in the Northern
District of Oklahoma, described by the following points of latitude/longitude (see Attachment A
for photograph as well as photograph on the following page):

Point 1: 36.3067, -95.65797

Point 2: 36.3053, -95.65796

Point 3: 36.3053, -95.65644

Point 4: 36.30669, -95.65644

 

> All distances to nearby homes, church, roadway were calculated with Google Maps. Google
Maps is a web mapping service developed by Google. It offers satellite imagery, aerial photography,
street maps, 360° interactive panoramic views of streets, real-time traffic conditions, and route planning
for traveling by foot, car, bicycle and air, or public transportation. Google Maps also allows users to
measure distances from one point to another.

14
Case 4:20-mj-00134-PJC Document 1 Filed in USDC ND/OK on 05/29/20 Page 16 of 23

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39. I determined these four points above by utilizing Google MyMaps? and creating a
square around 9574 East Highway 20, Claremore, Oklahoma, which is in the center of the square
pictured above. I utilized Google MyMaps to determine the latitudinal and longitudinal
coordinates of each point, as listed in paragraph 38. Due to the nearby highway and church, |
wanted to contain the search for location/device information to this determined area so that
uninvolved parties driving by the residence or attending the church would not be included in the

results. There are no other businesses or homes located within the four points set out above other

 

® Google MyMaps is online software provided by Google that allows users to create custom
maps, add points of reference, draw shapes on maps, create maps from spreadsheets, and personalize the
map with icons and colors. Users are also able to add photos and videos to any place.

15
Case 4:20-mj-00134-PJC Document 1 Filed in USDC ND/OK on 05/29/20 Page 17 of 23

than the residence of 9574 East Highway 20, Claremore, Oklahoma which was the home of Jeffrey
Reetz.

40. This search warrant also seeks identifying information for Google Accounts

associated with the responsive location history data, as further described in Attachment B.
CONCLUSION

41. Based on the forgoing, I request that the Court issue the proposed search warrant.
Because the warrant will be served on Google who will then compile the requested records at a
time convenient to it, reasonable cause exists to permit the execution of the requested warrant at
any time in the day or night.

42. | On April 3, 2020, I originally obtained a federal search warrant in the Northern
District of Oklahoma for this device geolocation data as collected by Google. The warrant was
signed by US Magistrate Judge Paul J. Cleary. On May 28, 2020, I was contacted by a Google
representative advising me that I had made an error on the first search warrant by listing Point 1
and Point 4 as the same coordinates, thus changing the polygon from a square to a triangle. Google

stated that I would need an amended search warrant to obtain the requested data.

16
Case 4:20-mj-00134-PJC Document 1 Filed in USDC ND/OK on 05/29/20 Page 18 of 23

43. After receiving this information, I recreated the polygon utilizing Google MyMaps,
as instructed by the Google representative, and obtained the proper coordinates of Points 1-4, as

listed in paragraph 38 and Attachment A.

Respectfully submitted,

Rte

Dustin Carder
Special Agent
Homeland Security Investigations

tebepharnd “
Subscribed/and sworn to me on May £9 , 2020

  
   

Hf

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NITED STATES MAGISTRATE JUDGE
N 2RN DISTRICT OF OKLAHOMA

17
Case 4:20-mj-00134-PJC Document 1 Filed in USDC ND/OK on 05/29/20 Page 19 of 23

ATTACHMENT A

Property To Be Searched

This warrant is directed to Google LLC, headquartered at 1600 Amphitheatre Parkway,

Mountain View, California, and applies to (1) GPS, WiFi or Bluetooth sourced location history

data generated from devices that reported a location within the geographical region bounded by

the following latitudinal and longitudinal coordinates, dates, and times (“Initial Search

Parameters”) and (2) identifying information for Google Accounts associated with the responsive

location history data:

Dates & Time Periods (including time zone):

a)
b)
c)
d)
e)
f)
8)
h)
i)
j)
k)

I)

January 19, 2017 between 10:10 AM and 10:20 AM (CST)
January 23, 2017 between 11:45AM and 11:55 AM (CST)
January 24, 2017 between 8:15 AM and 8:25 AM (CST)
January 25, 2017 between 9:35 AM and 9:45 AM (CST)
January 27, 2017 between 12:35 PM and 12:45 PM (CST)
May 24, 2017 between 11:45 AM and 11:55 AM (CST)
December 26, 2017 between 11:25 AM and 11:35 AM (CST)
January 3, 2018 between 5:25 PM and 5:35 PM (CST)
August 23, 2018 between 2:15 PM and 2:25 PM (CST)
August 27, 2018 between 4:00 PM and 4:10 PM (CST)
September 6, 2018 between 5:10 PM and 5:20 PM (CST)

September 8, 2018 between 9:40 PM and 9:50 PM (CST)

m) September 23, 2018 between 9:10 PM and 9:20 PM (CST)

n)
)

October 6, 2018 between 12:20 PM and 12:30 PM (CST)

October 13, 2018 between 4:35PM and 4:45 PM (CST)
Case 4:20-mj-00134-PJC Document 1 Filed in USDC ND/OK on 05/29/20 Page 20 of 23

p) November 2, 2018 between 10:35 PM and 10:45 PM (CST)
q) November 7, 2018 between 2:15 PM and 2:25 PM (CST)
r) November 8, 2018 between 7:55 PM and 8:05 PM (CST)
s) August 15, 2019 between 11:25 AM and 11:35 AM (CST)
t) November 6, 2019 between 9:35 AM and 9:45 AM (CST)
u) November 7, 2019 between 10:05 AM and 10:15 AM (CST)
v) November 13, 2019 between 9:25 AM and 9:35 AM (CST)
w) December 4, 2019 between 9:20 AM and 9:30 AM (CST)
x) December 6, 2019 between 9:45 AM and 9:55 AM (CST)
y) December 9, 2019 between 9:15 AM and 9:25 AM (CST)
Z) December 12, 2019 between 10:00 AM and 10:10 AM (CST)
aa) December 13, 2019 between 10:20 AM and 10:30 AM (CST)
bb) December 17, 2019 between 10:15 AM and 10:25 AM (CST)
cc) December 18, 2019 between 9:25 AM and 9:35 AM (CST)
dd) January 3, 2020 between 9:05 AM and 9:15 AM (CST)
ee) January 16, 2020 between 10:00 AM and 10:10 AM (CST)
ff) January 21, 2020 between 9:45 AM and 9:55 AM (CST)
Target Location:
Geographical area around 9574 East Highway 20, Claremore, Oklahoma 74017 identified as a
polygon defined by the following latitude/longitude coordinates and connected by straight lines:
Point 1: 36.3067, -95.65797
Point 2: 36.3053, -95.65796
Point 3: 36.3053, -95.65644

Point 4: 36.30669, -95.65644
Case 4:20-mj-00134-PJC Document 1 Filed in USDC ND/OK on 05/29/20 Page 21 of 23

Please see the Target Location Reference Images below and on following page:

 
Case 4:20-mj-00134-PJC Document 1 Filed in USDC ND/OK on 05/29/20 Page 22 of 23

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Case 4:20-mj-00134-PJC Document 1 Filed in USDC ND/OK on 05/29/20 Page 23 of 23

ATTACHMENT B
Items To Be Seized And Searched

I. Information to be disclosed by Google
Google shall provide responsive data (as described in Attachment A) pursuant to the

following process:

1. Google shall query location history data based on the Initial Search Parameters (as
described in Attachment A).
2. For each location point recorded within the Initial Search Parameters, Google shall

produce anonymized information specifying the corresponding unique device ID, timestamp,
coordinates, display radius, and data source, if available (the “Anonymized List”).

3. Law enforcement shall review the Anonymized List to remove devices that are not
relevant to the investigation, for example, devices that were not in the location for a sufficient
period of time. If additional location information for a given device ID is needed in order to
determine whether that device is relevant to the investigation, law enforcement may request that
Google provide additional location coordinates for the Time Period that fall outside of the Target
Location. These contextual location coordinates may assist law enforcement in identifying devices
that were located outside the Target Location, were not within the Target Location for a long
enough period of time, were moving through the Target Location in a manner inconsistent with
the facts of the underlying case, or otherwise are not relevant to the investigation.

4. For those device IDs identified as relevant pursuant to the process described above,
law enforcement may request that Google Provide identifying information, as defined in 18 U.S.C.

§ 2703(c)(2), for the Google Account associated with each identified device ID.
